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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )         CASE NO. 2:07-cr-250-MEF
                                           )                    (WO)
WILLIE JOE HALL                            )
MICHAEL COLEMAN                            )

                                    ORDER

      Upon consideration of the Unopposed Motion to Continue Trial (Doc. #75) and

Motion to Correct Unopposed Motion to Continue Trial (Doc. #80), it is hereby

      ORDERED that the motions are DENIED as moot.

      DONE this 28th day of March, 2008.




                                                /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE
